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11

12                               UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                       SAN JOSE DIVISION

15
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
16                                             )
            Plaintiff,                         )   MS. HOLMES’ MOTION TO SUPPRESS
17                                             )   EVIDENCE OF CUSTOMER COMPLAINTS
       v.                                      )   AND TESTING RESULTS AS WELL AS
18                                             )   FINDINGS IN CMS REPORT
     ELIZABETH HOLMES and                      )
19   RAMESH “SUNNY” BALWANI,                   )
                                               )   Date: June 16, 2021
20          Defendants.                        )   Time: 10:00 AM
                                               )   CTRM: 4, 5th Floor
21                                             )
                                               )   Hon. Edward J. Davila
22                                             )
                                               )
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28 MS. HOLMES’ MOTION TO SUPPRESS
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 1    MS. HOLMES’ MOTION TO SUPPRESS EVIDENCE OF CUSTOMER COMPLAINTS AND

 2                  TESTING RESULTS AS WELL AS FINDINGS IN CMS REPORT

 3          PLEASE TAKE NOTICE that on June 16, 2021 at 10:00 a.m., or on such other date and time as

 4 the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose, CA

 5 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Homes will and hereby does

 6 respectfully move the Court to suppress evidence of customer complaints and testing results, and the

 7 findings contained in the January 25, 2016 CMS Report. The Motion is based on the below

 8 Memorandum of Points and Authorities, the Declaration of Lance Wade and accompanying exhibits, the

 9 record in this case, and any other matters that the Court deems appropriate.

10
     DATED: June 2, 2021.
11

12                                                                     /s/ Lance Wade_____
                                                                       KEVIN M. DOWNEY
13                                                                     LANCE A. WADE
                                                                       AMY MASON SAHARIA
14                                                                     KATHERINE TREFZ
                                                                       Attorneys for Elizabeth Holmes
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES

 2          Ms. Holmes respectfully moves to suppress evidence of customer complaints and testing results

 3 and the findings of the January 25, 2016 CMS Report (“CMS Report”) under United States v. Flyer, 633

 4 F.3d 911 (9th Cir. 2011), and for an evidentiary hearing on that motion.

 5          In its May 22, 2021 Order, this Court denied Ms. Holmes’ Motion to Exclude Anecdotal Test

 6 Results, Dkt. 563. Rejecting Ms. Holmes’ arguments under Fed. R. Evid. 401-403, the Court ruled that

 7 “[e]ach time a Theranos customer allegedly paid for an accurate and reliable blood test based on

 8 Holmes’s representations and did not receive such a test, that experience on its own is evidence of the

 9 fraud.” Order re: Motions in Limine, Dkt. 798 at 49 (“Order”). By the terms of the Order, the

10 government may now present at trial its anecdotal evidence, including customer complaints and testing

11 results, as well as the findings contained in the CMS report. Order, Dkt. 798 at 20, 49-50 (“The Court

12 finds that anecdotal evidence of test results is relevant and admissible.”).1

13          This ruling ripens Ms. Holmes’ previously stated concerns about the use of anecdotal evidence at

14 trial. See Ms. Holmes’ Reply in Support of Motion to Exclude Anecdotal Test Results, Dkt. 730 at 2, 9.

15 Allowing the government to use customer complaints and testing results and the findings of the CMS

16 Report as “evidence of the fraud” after the government failed to gather and preserve the Laboratory

17 Information System database (“LIS”) would violate Ms. Holmes’ right to present a complete defense

18 and to receive due process. Order at 49. That is because the LIS contained evidence that could have

19 allowed Ms. Holmes to rebut the government’s assertion that that anecdotal evidence tends to show that

20 Theranos’ technology was “in fact, not capable of consistently producing accurate and reliable results.”

21 Dkt. 469, ¶ 16. The government’s failure to preserve the LIS has therefore “left [Ms. Holmes] without

22 any means of [adequately] refuting an important part of the prosecution’s case.” United States v.

23 Zuniga-Garcia, 472 F. App’x 498, 499 (9th Cir. 2012) (applying Flyer, 633 F.3d 911, to sanction

24 government for loss of evidence). Suppression of this evidence is the appropriate remedy to safeguard

25
           1
             With respect to the January 25, 2016 CMS Report, the Court held open the possibility of
26 “further side bar discussions on this matter, should the parties wish to specify certain exhibits within this
   collection of evidence and make new arguments as to why [this] particular exhibit[] should be
27 excluded.” Order at 20.

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 1 Ms. Holmes’ constitutional rights.

 2                                                BACKGROUND

 3          This Court is familiar with the LIS.2 The database has been the subject of extensive briefing and

 4 argument, and the parties appear to agree on the contents and functionality of the LIS. See Gov’t

 5 Corrected Opp’n to Ms. Holmes’ Motion to Exclude Anecdotal Test Results, Dkt. 682 at 1-3; Ms.

 6 Holmes’ Reply in Support of Motion to Exclude Anecdotal Test Results, Dkt. 730 at 10-12; 5/4/2021

 7 Hr’g Tr. 79:10-12 (government argument: “the defense has been helpful to a degree in explaining what

 8 data specifically was in that LIS”); id. at 79:20-21 (government argument: “[The LIS] certainly would

 9 have been a powerful tool to use in the government’s investigation.”).

10          The government’s failure to gather and preserve the LIS database has also been the subject of

11 briefing and argument. See Ms. Holmes’ Reply in Support of Motion to Exclude Anecdotal Test

12 Results, Dkt. 730 at 1-2, 7-9, 12-16; 5/4/2021 Hr’g Tr. 50:9-13, 53:24-54:16, 55:17-57:8. There is a live

13 factual dispute as to the degree of the government’s culpability in the loss of the LIS evidence. 5/4/2021

14 Hr’g Tr. 51:23-25; see also id. at 83:17-18, 22-23.

15          The government’s failure to gather and preserve the LIS is the subject of a 24-page letter

16 prepared by the government in response to Ms. Holmes’ repeated demands for exculpatory material

17 pursuant to Brady v. Maryland, 373 U.S. 83 (1963). See Dkt. 732-2 (October 29, 2020 Letter from R.

18 Leach to L. Wade (“Brady Letter”)); see also Declaration of Lance Wade in Support of Motion to

19 Suppress Customer Complaints and Testing Results as well as Findings of CMS Report (“Wade Decl.”)

20 Exs. 1-9 (correspondence between undersigned counsel and government seeking Brady material relating

21 to LIS); infra pp. 7-8. The Brady letter summarizes (among other things) the extent of the government’s

22 notice regarding Theranos’ dire financial condition; government interactions with Theranos’ defense

23 counsel regarding the production of data contained in the LIS and the software necessary to access the

24 LIS; the government’s receipt of a copy of the LIS; the period of time it took the government to ask for

25

26          2
            Ms. Holmes will not repeat the facts set forth in her prior pleading. Instead, she incorporates
   by reference her recitation of the facts from Ms. Holmes’ Reply in Support of Motion to Exclude
27 Anecdotal Test Results, Dkt. 730, at 1-2, 7-16.

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 1 and attempt to access that copy; and the advice given (and ignored) by government personnel to

 2 government attorneys relating to accessing the LIS. The events recounted in the letter begin in 2016 and

 3 continue through 2020.

 4                                              LEGAL STANDARD

 5          The Supreme Court has held that the government’s failure to preserve evidence may violate a

 6 defendant’s rights to receive due process and to present a complete defense. See Arizona v. Youngblood,

 7 488 U.S. 51 (1988); California v. Trombetta, 467 U.S. 479 (1984). Under Trombetta, the government’s

 8 loss of evidence whose “exculpatory value . . . was apparent before the evidence was destroyed,” and

 9 was “of such a nature that the defendant would be unable to obtain comparable evidence by other

10 reasonably available means” violates the due process of a criminal defendant. 467 U.S. at 488-89.

11 Under Youngblood, the failure to preserve even potentially exculpatory evidence violates due process

12 when the government acts in bad faith. 488 U.S. at 57-58 (describing “potentially exculpatory

13 evidence” as “evidentiary material of which no more can be said than that it could have been subject to

14 tests, the results of which might have exonerated the defendant”). The government’s failure to gather

15 potentially exculpatory evidence—even if the government never takes possession of that evidence—

16 violates due process if done in bad faith. Miller v. Vazquez, 868 F.2d 1116, 1120 (9th Cir. 1989).3

17 Applying Youngblood, the Ninth Circuit has explained that “[t]he presence or absence of bad faith turns

18 on the government’s knowledge of the apparent exculpatory value of the evidence at the time it was lost

19 or destroyed.” United States v. Zaragoza-Moreira, 780 F.3d 971, 977 (9th Cir. 2015).

20          Even if a constitutional violation is not established, the government’s failure to preserve

21 evidence may still require sanctions, including the suppression of evidence. See Flyer, 633 F.3d at 916.4

22 In determining whether suppression is appropriate, courts must “balance ‘the quality of the

23 government’s conduct and the degree of prejudice to the accused.’” Id. (quoting United States v. Loud

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            3
            Ms. Holmes does not currently move to dismiss the counts of the indictment that rely on
25 evidence that could have been rebutted through the lost LIS evidence. Ms. Holmes reserves the right to
   move for dismissal based on the evidence adduced at the requested evidentiary hearing.
26        4
            The Ninth Circuit has not confronted the question whether the government’s failure to gather
   potentially exculpatory evidence (as opposed to the failure to preserve such evidence already in its
27 possession) requires suppression in the absence of a constitutional violation.

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 1 Hawk, 628 F.2d 1139, 1152 (9th Cir. 1979) (en banc) (Kennedy, J., concurring), overruled on other

 2 grounds, United States v. W.R. Grace, 526 F.3d 499 (9th Cir. 2008) (en banc)). In this inquiry, “[t]he

 3 government bears the burden of justifying its conduct, and the defendant bears the burden of

 4 demonstrating prejudice.” Id. The Ninth Circuit has identified certain non-exclusive factors for Courts

 5 to consider:

 6          Reasonableness of government’s conduct

 7                “whether the evidence was lost or destroyed while in [the government’s] custody”;
 8                “whether the government acted in disregard for the interests of the accused”;
 9                “whether [the government] was negligent in failing to adhere to established and
10                 reasonable standards of care for police and prosecutorial functions”;

11                “if the acts were deliberate, whether they were taken in good faith or with reasonable
12                 justification”;

13                “the nature and degree of federal [officers’] participation”;
14                “whether the government attorneys prosecuting the case have participated in the events
15                 leading to loss or destruction of the evidence, for prosecutorial action may bear upon

16                 existence of a motive to harm the accused.”

17          Degree of prejudice to the Defendant

18                “the centrality of the evidence to the case and its importance in establishing the elements
19                 of the crime or the motive or intent of the defendant”;

20                “the probative value and reliability of the secondary or substitute evidence”;
21                “the nature and probable weight of factual inferences or other demonstrations and kinds
22                 of proof allegedly lost to the accused”;

23                “the probable effect on the jury from absence of the evidence, including dangers of
24                 unfounded speculation and bias that might result to the defendant if adequate presentation

25                 of the case requires explanation about the missing evidence.”

26 Loud Hawk, 628 F.2d at 1152 (Kennedy, J., concurring).

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 1          The Ninth Circuit has held that an evidentiary hearing on a motion to suppress is necessary

 2 “when the moving papers allege facts with sufficient definiteness, clarity, and specificity to enable the

 3 trial court to conclude that contested issues of fact exist.” United States v. Howell, 231 F.3d 615, 620

 4 (9th Cir. 2000).

 5                                                    ARGUMENT

 6 I.       Evidence of Customer Complaints and Testing Results as well as Findings of the CMS
            Report Should Be Suppressed.
 7

 8          Evidence of customer complaints and customer testing results, as well as the findings of the

 9 CMS report, should be suppressed.5 Under Flyer, the quality of the government’s conduct was poor,

10 and the prejudice to Ms. Holmes’ defense is severe:

11          Reasonableness of the government’s conduct

12                   The government did not gather and preserve the LIS despite notice that the database was
13                    important, that the company was closing down, and that there would be technical

14                    complications associated with preserving and accessing the database;

15                   The government acted in disregard for Ms. Holmes’ rights by failing to preserve evidence
16                    that could have addressed the government’s accuracy-and-reliability allegations;

17                   The government failed to observe relevant standards of care because (among other
18                    things) government attorneys delayed attempting to access the LIS, then disregarded the

19                    advice of an internal litigation support professional regarding ways to access and preserve

20                    the evidence, and failed to engage experienced forensic professionals to access the LIS;6

21
            5
22             The evidence falling within these categories includes: testimony and exhibits offered by
     customers relating to their specific testing results; testimony and exhibits offered by doctors relating to
23   customers’ specific testing results; any aspect of Dr. Master’s opinions that relates to specific testing
     results or quality control results; the CMS report’s discussion of quality control results and other data
24   that was maintained in the LIS; customer feedback spreadsheets; any other customer complaints or
     testing results offered by fact witnesses (by testimony or exhibit) other than doctors and customers; and
25   any other testimony or exhibits relating to quality control data or any other data residing in the LIS
     offered by fact witnesses.
26           6
               Ms. Holmes notes that the government bears the burden in justifying its conduct, and that it
     may need to notice an expert in order to establish the relevant standard of care for gathering and
27   preserving evidence.
28   MS. HOLMES’ MOTION TO SUPPRESS
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 1                The government failed to preserve the LIS despite knowing about the potentially
 2                 exculpatory value of the LIS for nearly two years prior to the company’s closing;

 3                Members of the prosecution team and other federal personnel were involved in these
 4                 events.7

 5         Degree of prejudice to Ms. Holmes

 6                As the Court has recognized, the LIS is “very important for this particular trial”;8
 7                The LIS contained critical evidence with respect to each and every one of millions of
 8                 testing results that it housed, as well as QC data and the response to QC data (i.e.,

 9                 whether/when a result was released). This evidence is central to the full and fair

10                 assessment of whether any individual testing result proffered by the government was

11                 accurate, and what the cause of any particular error might have been;

12                The government’s substitute evidence is not comparable to the LIS, because of the sheer
13                 number of results in the LIS, the richness of information about each testing result, and the

14                 database’s ability to sift, sort, and query that information;

15                Ms. Holmes has lost the opportunity to refute adequately the government’s assertions
16                 with respect to customer complaints and testing results and the CMS finding reports;9

17                If “[e]vidence of even one inaccurate result tends to show that Theranos was producing
18                 inaccurate results,” it follows that evidence of accurate results tends to prove the

19                 opposite, and is exculpatory. Order at 48-49. Evidence of the potentially millions of

20                 accurate testing results that resided on the LIS is therefore central to the case and is now

21                 missing;

22                There is a serious risk that jurors would wrongly fault Ms. Holmes for the loss of the LIS,
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           7
             See Ms. Holmes’ Reply in Support of Motion to Exclude Anecdotal Test Results, Dkt. 730, at
25 1-2, 7-9, 12-16; 5/4/2021 Hr’g Tr. 53:25-54:16, 55:11-16, 55:17-57:8, 94:14-95:1.
           8
26           5/4/2021 Hr’g Tr. 52:3-7.
           9
             See Ms. Holmes’ Reply in Support of Motion to Exclude Anecdotal Test Results, Dkt. 730 at
27 10-12.

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 1                   despite her lack of involvement;10

 2                  Without the evidence contained in the LIS, there is a serious risk that jurors will wrongly
 3                   shift the burden of disproving the government’s accuracy-and-reliability allegations to

 4                   Ms. Holmes.11

 5 See Loud Hawk, 628 F.2d at 1152 (Kennedy, J., concurring). The balance of these factors clearly favors

 6 Ms. Holmes, and requires suppression in order to protect her constitutional rights.12

 7 II.      An Evidentiary Hearing Is Necessary to Resolve Contested Issues of Fact Relating to the
            Government’s Failure to Gather and Preserve the LIS Evidence and the Ensuing Prejudice
 8          to Ms. Holmes.

 9          The Ninth Circuit has held that an evidentiary hearing in support of a motion to suppress is

10 necessary “when the moving papers allege facts with sufficient definiteness, clarity, and specificity to

11 enable the trial court to conclude that contested issues of fact exist.” Howell, 231 F.3d at 620. Here, the

12 Court has recognized the existence of a “factual dispute” about fault for the loss of this evidence, as has

13 the government. 5/4/2021 Hr’g Tr. 51:23-25; see also id. at 83:17-18, 22-23 (government argument:

14 “[T]here is a factual dispute. The government recognizes that.”). In addition, the 24-page Brady letter

15 raises questions about the government’s conduct in this case that need to be explored. See supra pp. 2-3;

16 infra pp. 7-8. And while the government and Ms. Holmes appear to agree, as a factual matter, about the

17 contents and functionality of the LIS, see supra p. 2, there is a dispute as to the degree of prejudice

18 associated with the government’s failure to collect and preserve the LIS, compare 5/4/2021 Hr’g Tr. at

19 47:20-48:23, with id. at 79:16-19.

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23          10
                5/4/2021 Hr’g Tr. 82:14-17 (erroneously insinuating, without evidence, that Ms. Holmes was
     involved in the loss of the LIS).
24
             11
                5/4/2021 Hr’g Tr. 62:19-22, 63:3-13, 87:20-88:11, 90:9-10.
25           12
                Indeed, even if this Court determines after hearing all the evidence at a suppression hearing
     that no constitutional violation occurred, the poor quality of the government’s conduct and the severe
26   prejudice to Ms. Holmes still require suppression. See Zuniga-Garcia, 472 F. App’x at 499 (balance of
     government conduct and prejudice to defendant required sanction, regardless of whether a constitutional
27   violation occurred).
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 1 III.     The Court Should Direct the Government to Produce the Evidence Relating to its October
            2020 Brady Letter That Ms. Holmes Requested More Than Six Months Ago.
 2

 3          Because Flyer/Loud Hawk balancing requires an assessment by this Court of the quality of the

 4 government’s conduct (including the degree of involvement of the prosecution team), Ms. Holmes asks

 5 the Court to direct the government to produce certain information relating to its October 2020 Brady

 6 Letter, which purports to catalogue the government’s steps to collect and preserve the evidence residing

 7 in the LIS. See Brady Letter; see also 5/4/2021 Hr’g Tr. 55:17-25. That document does not identify by

 8 name numerous government attorneys, paralegals, and litigation support staff directly involved in the

 9 events at issue. On November 18, 2020, undersigned counsel requested that information, as well as the

10 documents identified in the Brady letter (some of which appear to be quoted in the letter). See Wade

11 Decl., Exs. 1-4. The government has refused to produce that evidence, despite repeated requests over

12 the past six-plus months. See id. Because Flyer requires this Court to assess the quality of the

13 government’s conduct in failing to preserve the LIS, Ms. Holmes requires this evidence in order to

14 prepare for the requested hearing.13

15                                                  *       *      *

16          For the foregoing reasons, Ms. Holmes respectfully moves to suppress evidence of customer

17 complaints and testing results and the CMS report findings, and seeks an evidentiary hearing in support

18 of this motion.

19

20               DATED: June 2, 2021

21                                                       /s/ Lance Wade
                                                         KEVIN DOWNEY
22                                                       LANCE WADE
                                                         AMY MASON SAHARIA
23                                                       KATHERINE TREFZ
                                                         Attorneys for Elizabeth Holmes
24

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26          13
             Independently of the requested hearing on her Motion to Suppress, Ms. Holmes is entitled to
   this evidence under Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150
27 (1972), and Fed. R. Crim. P. 16.

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 1                                      CERTIFICATE OF SERVICE

 2         I hereby certify that on June 2, 2021, a copy of this filing was delivered via ECF on all counsel

 3 of record.

 4

 5

 6                                                                      /s/ Lance Wade___
                                                                        LANCE WADE
 7                                                                      Attorney for Elizabeth Holmes

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